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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.


 State of Colorado, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                  HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.




                                       STATUS REPORT

       Pursuant to the Court’s Order setting a status conference for July 19, 2023, Plaintiffs in

United States v. Google LLC and State of Colorado v. Google LLC submit the following Status

Report summarizing the state of discovery and identifying an issue for which Plaintiffs seek the

Court’s guidance at the status hearing scheduled for July 19, 2023.
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I.     Requested Guidance

       Plaintiffs respectfully request the Court’s guidance at the July 19 status conference

regarding logistical questions relating to the Court’s June 30 Order setting the schedule for trial

proceedings. Specifically, Plaintiffs seek the Court’s guidance regarding the allocation of time

for cross examinations and/or direct examinations that the opposite side may conduct during a

party’s case-in-chief.

       During the status conference, DOJ Plaintiffs expressly requested enough time for their

case-in-chief, crosses, and a rebuttal case: “We have sharpened our pencils; and we are asking

for 120 hours for the DOJ case, which would be our case-in-chief, our cross of Google, and

rebuttal, which hashes out -- if we're looking at 30 hours of trial time per week, it hashes out to

four weeks. So that's what we're asking for our case. That doesn't include the -- include Google's

case or the states' case or their exam time, but that is -- that's what we need for our case.” Hr’g

Tr. at 4:10-17 (June 28, 2023). Later in the conference, DOJ Plaintiffs moderated the request to

105 hours. Id. at 9:17-25. In the Court’s Order, the Court referenced the DOJ Plaintiffs’ request

and stated that this was granted. ECF No. 610 at 2 (“The DOJ Plaintiffs’ case-in-chief shall

conclude on or about October 6, 2023 (appx. 105 hours).”). During a meet and confer between

the Parties on the scheduling order, Google took the position that it intends to conduct

examination of any overlap witnesses during Plaintiffs’ case-in-chief and may use as much of the

time allocated for the Plaintiffs as Google desires without any corresponding decrease to

Google’s allotted trial time. Specifically, Google stated it “would conduct exams of witnesses

called by the DOJ within the calendar days allotted for DOJ’s case” in an email to Plaintiffs.

Additionally, were time spent during cross examination to be counted against the pendency of a




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party’s case-in-chief, the opposing party would have the incentive to maximize the length of

every cross examination to reduce the time available for the party to present their case-in-chief.

       Plaintiffs ask the Court to adopt procedures for trial to ensure the DOJ Plaintiffs receive

the requested necessary time to present our case. Specifically, Plaintiffs ask the Court to allocate

to each party the amount of time listed in the Court’s Order (i.e., approximately 105 hours for

DOJ Plaintiffs’ case-in-chief, 65 hours for Colorado Plaintiffs’ case-in-chief, and 98 hours for

Google’s case-in-chief). Plaintiffs ask the Court to count time spent questioning against the time

of the questioning party.



II.    Plaintiffs’ Discovery of Google

       Google produced additional documents on March 31, April 7, and April 12, along with a

privilege log on April 12. Google explained that these late produced documents were “retrieved

by the custodial search parameters negotiated by the parties during fact discovery [but were]

inadvertently excluded from the responsiveness review.”

       In addition, Google produced more tardy documents on May 14, May 20, May 26,

June 2, and June 12, including privilege logs on June 16 related to “certain documents in Google

Drive, including Microsoft Office and PDF files, as well as certain failed located in shared/team

drive folders.”

       Google has informed Plaintiffs it has completed its production of these two sets of

documents. Together, these productions comprise roughly 63,000 documents containing over

one million pages. Plaintiffs have informed Google that they are working through the documents

and determining appropriate next steps.

       On May 31, Google provided to Plaintiffs a supplemental-materials-relied-upon list for

the expert reports of Dr. Ophir Frieder of materials that post-date the close of expert discovery.

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       Plaintiffs provided this status report to Google. Google declined to join.



Dated: July 17, 2023                          Respectfully submitted,

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